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 1   DAVID A. TORRES AND ASSOCIATES
     David A. Torres, SBN135059
 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (661)326-0857
     Fax: (661)326-0936
 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     CORAL HERRERA
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: 16-CR-00106 LJO-SKO
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        ) DEFENDANTS REQUEST AND WAIVER
                                                       ) OF APPEARANCE
12          vs.                                        )
                                                       )
13   CORAL HERRERA,                                    )
                                                       )
14                   Defendant                         )
15          Defendant, CORAL HERRRA, hereby waives her appearance in person in open court
16   upon the Status Conference and Motion Hearing set for April 3, 2017at 1:00 p.m.in Courtroom 7
17   of the above entitle court. Defendant hereby requests the court to proceed in her absence and
18   agrees that her interest will be deemed represented at said hearing by the presence of her
19   attorney, DAVID A. TORRES. Defendant further agrees to be present in person in court at all
20   future hearing dates set by the court including the dates for jury trial.
21

22   Date: 3/27/17                                                  _/s/Coral Herrera________ ___
23
                                                                    CORAL HERRERA

24
     Date: 3/28/17                                                  _/s/David A. Torres_______ ___
25                                                                  DAVID A. TORRES
                                                                    Attorney for Defendant




                       DEFENDANTS REQUEST AND WAIVER OF APPEARANCE - 1
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 1
                                                 ORDER
 2
              Good cause appearing,
 3
              IT IS HEARBY ORDERED that defendant CORAL HERRERA is hereby excused
 4
     from appearing at this court hearing scheduled for April 3, 2017.
 5

 6   IT IS SO ORDERED.
 7
     Dated:     March 29, 2017                                   /s/   Sheila K. Oberto   .
 8                                                    UNITED STATES MAGISTRATE JUDGE
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                       DEFENDANTS REQUEST AND WAIVER OF APPEARANCE - 2
